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                           IN UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA                    MAR 1 1 700
~+                                ATLANTA DIVISION
                                                                          JAMES N . klATTEN
                                                                                            . CLERK
     ANDREW BROWN, individually,                                                          De
     and on behalf of a class of all persons
     similarly situated,

           Plaintiff,
                                                               .
                                                       1 :O9_CV_0679
     V.                                         * Case No.
                                                * Complaint -- Class Action ~~
     FIRST HORIZON HOME LOAN                                           d-0 Y ~
     CORPORATION,

           Defendant .

                             COMPLAINT - CLASS ACTION

           Plaintiff, Andrew Brown, files this Complaint on behalf of himself and on

     behalf of a class of all persons similarly situated against Defendant First Horizon

     Home Loan Corporation ("First Horizon") and shows the Court the following :

     I.    PARTIES, JURISDICTION, AND VENUE

            1 . Plaintiff, Andrew Brown, resides in Fayetteville, Georgia. His home,

     which served as collateral for an interest Rate Reduction Refinancing Loan

     ("IRRRL") guaranteed by the United States Department of Veterans Affairs

     ("VA"), is located at 12256 Crestwood Court, Fayetteville, Georgia .

           2 . First Horizon is a corporation whose principal place of business is

     located at 4000 Horizon Way #1123, Truing, Texas 75063 . First Horizon may



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properly be served with a summons and a copy of this Complaint by delivery of the

papers to its registered agent for service of process, C .T. Corporation System, 1201

Peachtree Street, N.E ., Fulton County, Atlanta, Georgia 30361 .

       3 . The Court has jurisdiction over the subject of this case under 28

U.S.C . § 1331 and under 18 U .S .C. § 1964 because this case asserts civil claims

and rights under the federal Racketeering Influenced Corrupt Organizations Act

(RICO), codified at 18 U.S .C. § 1961 et seq.

       4 . The Court has jurisdiction over Plaintiff and over Defendant because

Plaintiff resides in this district and because Defendants transact sufficient business

in this district to be subject to the jurisdiction of this Court and because Defendant

resides in this district . Plaintiff refinanced his home mortgage through a VA

IRRRL and closed the loan at a location within this district .

       5. Venue is proper in this district under 28 U .S .C. § 1391(b)(2) because

a substantial part of the events or omissions giving rise to the claim occurred in this

district. Venue is also proper in this district under 18 U .S .C. § 1965(a) because

Defendant resides, is found, has an agent, or transacts its affairs in this district




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II. OPERATIVE FACTS

       6 . First Horizon has engaged in a systematic scheme to charge United

States military veteran-borrowers certain fees and charges in connection with VA

IRRRLs that federal law requires the lender to pay .

       7 . The charges occur when a United States military veteran refinances

his or her home mortgage by obtaining a loan guaranteed by the VA ("VA loan") .

       8.     Specifically, First Horizon, through its closing attorneys,

systematically charges certain fees, such as attorney fees, to United States military

veteran-borrowers, which fees by federal regulation are required to be paid by the

lender, First Horizon .

       9. These fees are charged to the borrower because First Horizon, through

its closing attorneys and agents, intentionally and knowingly fai ls to properly

disclose the fees on the HUD-1 form in connection with VA IRRRLs and instead

moves the fees to the wrong lines of the HUD-1 form .

       10 . For instance, closing attorney fees cannot lawfully be charged to the

borrower in connection with a VA IRRRL, except in certain circumstances that are

not applicable here . l


 More specifically, the law allows certain charges to be allocated to the United
States military veteran-borrower but only to the extent the total of such charges
does not exceed 1 % of the loan amount (the "1 % cap") . In order to allocate



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       11 . Closing attorney fees are required to be listed on line 1101 or 1107 of

the HLTD-1. form.

       12 . If a fee is disclosed on line 1101 or 1107 ova HCTD-1 form, it is an

attorney fee, and if it is incurred in connection with a VA IRRRL, that charge must

be borne by the lender .

       13 . Other types of fees, such as fees for title search and title examination,

can lawfully be charged to the borrower in connection with a VA IRRRL .

       14 . Title search and title examination fees are required to be listed on

lines 1102 and 1103 of the HUD-1 form, respectively .

       15 . If a fee is disclosed on line 1102 or 1103 of a HUD-1 form, it is

supposed to be a title search or title examination fee, and even if it is incurred in

connection with a VA IRRRL, that fee (if, in fact, for title search or title

examination) may lawfully be charged to the borrower

      16 . First Horizon discloses closing attorney fee charges on line 1101 or

1107 in connection with (a) VA purchase money loans, (b) conventional refinance

loans, and (c) conventional purchase money loans . In comparison, First Horizon




closing attorney fees to the veteran-borrower at all, such fees must be included
within the line items of the HUD-1 form that are subject to the "1% cap ." That is
inapplicable here, as no attorney fees are included within the fees that are subject
to the "1 % cap" and such cap has already been exhausted with other charges .



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does not disclose those same charges on line 1101 or 1107 in connection with VA

IRRRLs.

          1 7 . First Horizon intentionally and knowingly conceals attorney fee

charges in connection with VA IRRRLs by fraudulently bundling them into title

search and title examination charges so that the charges can be included in the

borrower's column, so that the charges are borne by the borrower and not by the

lender.

          18 . The VA will not approve, and therefore will not guarantee, a VA

IRRRL if it contains a charge (for closing attorney fees) listed on line 1101 or 1107

of the HUD-1 form if that charge is listed2 in the borrower's column (meaning the

borrower pays the charge) .

      19 . Thus, Defendant discloses some or all of the fees paid to the closing

attorney on line 1101 or 1107 of the HUD-1 form in connection with VA purchase

money loans, conventional refinance loans, and conventional purchase money

loans, yet Defendant engages in a systematic course of conduct to never, or nearly

never, disclose the same payments made to the closing attorney on line 1101 or

1107 of the HUD-1 form in connection with a VA IRRRL because such a charge in

connection with a VA IRRRL must legally be borne by the lender . Instead, in

2 The charge could lawfully be listed on line 1101 or 1107 of the HUD-1 form in
the lender's column (meaning the lender pays the charge) .



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connection with a VA IRRRL, fees paid to the closing attorney that would be

disclosed on line 1101 or 1107 of the HLJD-1 form with any other type loan are

improperly and fraudulently bundled into charges reflected on l ines 1102 and /or

1103 of the HUD- 1 form so as to facilitate illegally charging the fees to the United

States military veteran-borrower .

       20. The illegal and unauthorized fees are impermissibly included in the

principal loan amount financed by the borrower in violation of applicable federal

law.

       21 . The lender is further required by federal regulation to certify in

writing that "[t]he lender has not imposed and will not impose any charges or fees

against the veteran borrower in excess of those permissible under the schedule set

forth in paragraph (d) of 38 CFR 36.4312."

       22. First Horizon executed the required certification with respect to

Plaintiff s IRRRL .

       23 . The certification made by Defendant with respect to Plaintiff's

IRRRL was false and was transmitted through the U . S . mails and by wire .

       24. The federal government relied upon the representations made in the

certifications . Without the certifications, the Department of Veterans Affairs

would not have issued a guarantee for Plaintiffs IRRRL.




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       25 . Plaintiff relied upon the representations made in the loan closing

documents, including the representation that the lender had not imposed any

charges or fees against the veteran borrower in excess of those permissible under

federal law.

       26 . The point of the HLTD-1 Settlement Statement and required

certification is for the parties to rely on the representations made therein, and the

parties ' preparation of and execution of the document along with on-going

mortgage payments in the amounts listed reflect that reasonable and on-going

reliance .

       27 . Plaintiff was harmed because he was illegally required to pay for fees

that federal law specifically prohibits lenders, like First Horizon, from charging

borrowers, like Plaintiff.

III. CLAIMS MADE

A. Count L• Liability For Violation Of Georgia's RICO Act

       28. This is an action asserting civil Georgia-RICO claims, pursuant to

O .C.G.A. § 16-14-1, et seq., on behalf of Plaintiff, individually and on behalf of a

class of persons who refinanced their mortgages through a VA IRRRL .




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      29. Defendants through a pattern of racketeering activity or proceeds

derived therefrom, maintained both an interest in and control of an enterprise and

money in violation of O.C.G.A. § 16-14-4(a) .

      30 . Defendant was associated with an enterprise and conducted and

participated in the enterprise through a pattern of racketeering activity in violation

of O.C .G.A. § 16-14-4(b) .

      31 . Defendant conspired to violate both O .C.G.A . § 16-14-4(a) and (b) .

      32 . The predicate acts that make up the pattern of racketeering activity

include the following :

      (a) violation of O.C.G.A . § 16-8-102(1), (2), (3), and (4) ; residential

             mortgage fraud ;

      (b) violation of 18 U.S.C. § 1341 ; mail fraud in connection with multiple

             and continuous use of the U .S . mail in furtherance of the fraudulent

             scheme, including the sending of the federally-required certification,

             HUD-1 form, closing documents, and other loan-related documents by

             and between the lender First Horizon, the underwriter, the closing law

             firms, the loan broker, the title company, and the Department of

             Veterans Affairs ; and




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      (c) violation of 18 U.S .C. § 1343 ; wire fraud in connection with multiple

             and continuous use of the U .S . wires in furtherance of the fraudulent

             scheme, including the sending of the federally-required certification,

             HUD- 1 form, closing documents, and other loan-related documents by

             and between the lender First Horizon, the underwriter, the closing law

             firms, the loan broker, the title company, and the Department of

            Veterans, Affairs .

      33 . Defendant committed at least two of the predicate acts listed in the

preceding paragraph in furtherance of closing Plaintiff s VA IRRRL .

      34. On information and belief, Defendant has committed more than forty

and perhaps thousands of the predicate acts listed in paragraph 32 in furtherance of

the scheme to charge U .S. military veteran-borrowers illegal charges in connection

with VA IRRRLs. These predicate acts involve the same or similar intent, results,

accomplices, victims, and methods of commission and are not isolated incidents .

      35. The enterprise is composed of First Horizon, the closing lawyers

and/or firms, the underwriters, the independent brokers, and title companies .

      36. The members of the enterprise all share, separate and apart from their

mainstream businesses, the common goal of increasing their own revenues and




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profit as a proximate result of First Horizon charging and collecting illegal and

unauthorized fees in connection with VA IRRRLs.

      37 . The independent brokers are not employees of First Horizon or agents

of First Horizon for the purposes of, and under the law applicable to, the RICO

claims asserted in this case . The closing lawyers and/or firms are not employees of

First Horizon . The underwriters are typically, but not necessarily always,

employees of First Horizon .

      38 .   The fact that the illegal and unauthorized fees are improperly moved

to, and disguised within, another category of permissible charges evidences and

demonstrates that First Horizon knows of their existence and illegality .

      39. First Horizon makes loans from Texas or other states outside Georgia

and closes the loans, transmits loan documentation, and makes the required federal

certifications from and to Georgia and other states using U .S . mails and wires .

      40. The closing lawyers close loans in Georgia and multiple other states

and transmit the loan documentation to First Horizon using U .S . mails and wires.

      41 . The underwriters obtain information about the borrower by mail,

email, telephone, or facsimile, and the loan documents are sent to the closing

lawyers via U. S . mail, by email, facsimile, or other interstate mail or wire

transmission.




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       42. The closing funds, including the illegal and unauthorized charges, are

paid by the borrowers by check or other funds ultimately transferred to First

Horizon via the U . S . mail or by electronic funds transfers or other similar

methods .

       43 . Federally required certifications and other documents utilized in the

process are transmitted to the federal government via the U . S . mail or by other

interstate maill or wire transmission .

       44. First Horizon conducted and participated in the enterprise through an

on-going, open-ended pattern of racketeering activity . The predicate acts for this

pattern are regular, systematic, and continuous uses by First Horizon and closing

lawyers of the United States Postal Service, the wires, and email to transmit

documents which are significant components of the scheme by First Horizon and

the closing lawyers to defraud United States military veteran-borrowers who are

led to believe that they are being charged only lawful and authorized charges

when, in fact, they are being charged illegal and unauthorized charges . Such use of

the mail and wires violates 18 U .S.C. § 1341 (mail) and 18 U .S .C . § 1343 (wire) .

       45. Each use by First Horizon and the closing lawyers of the mail to send

a federally required certification to the Department of Veterans Affairs and each

use of the mail, wires, or email by First Horizon and/or the closing lawyers to send




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loan related documents and information, as well as illegal and unauthorized

payments, violates 18 U .S .C . § 1341 and/or § 1343 because First Horizon and the

closing lawyers knowingly participated in the scheme to fraudulently charge

United States military veteran-borrowers illegal and unauthorized charges, and

used those mail ings to further their interests in that scheme .

      46 . Thus, First Horizon committed multiple acts of mail and wire fraud,

reasonably estimated to be in the thousands, based on the number of VA IRRRLs

made by First Horizon and the number of uses of the mail and wires for each

transaction.

      47 . Plaintiff believes that there have been thousands of victims of the

scheme. Plaintiff also believes that First Horizon continues in its scheme at the

present and, in all probability, will continue to do so.

      48. The Lender's Certificate required by 38 C .F .R. § 36 .4312(a), HUD

Form 92900-A (VA Form 26-1802a), is a significant part of the scheme to defraud

United States military veteran-borrowers in that the certification amounts to a

written and false representation to the Department of Veterans Affairs that "[t]he

lender has not imposed and will not impose any charges or fees against the veteran

borrower in excess of those permissible under the schedule set forth in paragraph

(d) of 38 CFR 36 .4312 ."




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      49. In the absence of this representation, the Government would not have

issued the guarantee for Plaintiff's loan nor for the loans of the class members .

      50 . The certification is transmitted to the Government by mail and/or wire

in connection with every VA IRRRL made by First Horizon, including Plaintiff's

loan and the loans of the class members .

      51 . The HUD- 1 forms are a significant part of the scheme to defraud in

that the form itemizes, line by line, the charges paid by the parties to the IRRRL,

and it falsely represents and states that the United States military veteran-borrower

is not paying certain fees, such as attorney fees, that are required to be paid by the

lender when, in fact, the veteran borrower is being charged for those fees .

      52. In the absence of this false representation (if, for instance, the attorney

fee charge is truthfully disclosed on the form), the Government would not issue the

guarantee for the loan or the United States military veteran-borrower would not be

charged the illegal and unauthorized fee .

      53 . The HUD- 1 is transmitted to the Government and by and between

First Horizon and the closing lawyers by mail and/or wire in connection with every

VA IRRRL made by First Horizon, including Plaintiff's loan and the loans of the

class members .




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       54. Plaintiff and the class members are victims of a continuing, wide-

spread scheme to defraud thousands of United States military veteran-borrowers

into paying certain fees, such as attorney fees, in connection with VA IRRRLs

when the fees are legally the respons ibility of the lenders,. such as First Horizon .

       55 . The normally-applicable five-year statute of limitations is tolled for

the class members because of First Horizon's fraudulent concealment of the

scheme, as reflected by the fact that Defendant disguised the illegal and

unauthorized charges so as to mislead both the United States military veteran-

borrowers and also the Government, which would not have guaranteed the loans

but for the concealment .

       56 . Plaintiff reasonably relied on the express representation that the

charges reflecte d on the applicable HUD- 1 were as represented and lawful . As a

result of such reliance, Plaintiff has suffered actual damages and has been injured

as a direct result of the enterprise .

       57. The class members reasonably relied on the express representation

that the charges reflected on the applicable HUD-1 were as represented and lawful .

Evidence of their reliance is their signatures on the HUD- 1 forms, as well as their

continued payments of the sums set forth therein . As a result of such reliance,




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class members suffered actual damages and have been injured as a direct result of

the enterprise .

B. Count II : Liability For Punitive Damages (Georgia RICO)

       58 . First Horizon acted fraudulently and with the intent to deceive .

Plaintiff, the class members, and the United States Department of Veterans Affairs,

as well as many other borrowers . The misconduct was willful and wanton,

fraudulent, intentional, and undertaken with conscious indifference to the likely

consequences as defined under O .C.G.A. §51-i2-5 .1(b) . Such conduct warrants

the imposition of punitive damages .

       59 . First Horizon acted with specific intent to cause harm as defined

under O.C.G.A. § 51-12-5 .1(fl .

C. Coun t HE Liability For Violatio n O f The Federal RI CO Act

       60. Defendant violated 18 U .S.C. § 1961(c) by conducting or participating

in the conduct of an enterprise through a pattern of racketeering activity, and in all

reasonable probability will continue to do so . Plaintiff and the Class have been

injured by reason of Defendant's conduct described in this Complaint . Plaintiff

asserts this Count under 18 U .S .C . § 1964 on behalf of himself and on behalf of a

class of all persons similarly situated and asserts all rights and seeks all remedies

provided by 18 U .S.C. § 1964.




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      61 .   The RICO enterprise relating to which Plaintiff asserts this Count is

the association of First Horizon, c losing law firms and lawyers, the loan

underwriters, title companies, and independent brokers . Through control of and

participation in this enterprise, First Horizon carried out the scheme to charge

United States military veteran-borrowers illegal and unauthorized charges for

certain fees that are required by federal law to be borne by First Horizon in

connection with VA IRRRLs . The members of the enterprise have a common

interest in their enterprise : receiving revenue and profit either directly or indirectly

as a proximate result of the illegal and unauthorized charges at the expense of the

United States military veteran-borrowers .

      62. The independent brokers are not employees of First Horizon or agents

of First Horizon for the purposes of, and under the law applicable to, the claims in

this case . The closing lawyers and firms are not employees of First Horizon . The

underwriters are typically, but not necessarily always, employees of First Horizon .

      63 . First Horizon uses interstate commerce to further the enterprise.

      64. First Horizon makes loans from outside Georgia and closes the loans,

transmits loan documentation, and makes the required federal certifications to and

from Georgia and other states .




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      65 . The closing lawyers and firms closes loans in Georgia and multiple

other states and transmits the loan documentation to First Horizon outside Georgia .

      66. The underwriters obtain information about the borrower by mail,

email, telephone, or facsimile, and the loan documents are sent to the closing

lawyers and firms via United States mail, by email, facsimile, or other interstate

mail or wire transmission.

      67. The closing funds, including the illegal and unauthorized charges, are

paid by the borrowers by check or other funds ultimately transferred to First

Horizon via the United States mail or by electronic funds transfers or other similar

methods.

      68 . Federally required certifications and other documents utilized in the

process are transmitted to the federal government via the United States mail or by

other interstate mail or wire transmission .

      69. First Horizon conducted and participated in the enterprise through an

on-going, open-ended pattern of racketeering activity . The predicate acts for this

pattern are regular, systematic, and continuous uses by First Horizon and the

closing lawyers and firms of the United States Postal Service, the wires, and email

to transmit documents which are significant components of the scheme by First

Horizon to defraud United States military veteran-borrowers who are led to believe



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that they are being charged only lawful and authorized charges when, in fact, they

are being charged illegal and unauthorized charges . That use of the mail and wires

violates 18 U .S .C . §§ 1341 and 1343, the federal mail and wire fraud statute .

      70 .   Each use by First Horizon and the closing lawyers and firms of the

mail to send a federally required certification to the Department of Veterans

Affairs and each use of the mail, wires, or emai l by First Horizon and/or the

closing lawyers or firms to send loan related documents and information, as well as

illegal and unauthorized payments, vio lates 18 U.S .C. §§ 1341 and/or 1343

because First Horizon knowingly participated in the scheme to fraudulently charge

United States military veteran-borrowers illegal and unauthorized charges, and

used those mailings to further their interests in that scheme .

      71 . Thus, during the Class Period, First Horizon committed multiple acts

of mail and wire fraud, reasonably estimated to be in the thousands, based on the

number of VA IRRRLs made by First Horizon and the number of uses of the mail

and wires for each transaction .

      72 . Plaintiff believes that there have been thousands of victims of the

scheme during the Class Period . Plaintiff also believes that First Horizon

continues in its scheme at the present and, in all probability, will continue to do so .




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      73 . The Lender's Certificate required by 38 C .F .R. § 36 .4312(a), VA

Form 2b-1802a (HUD Form 92900-A), is a significant part of the scheme to

defraud United States military veteran-borrowers in that the certification amounts

to a written and false representation to the Department of Veterans Affairs that

"[t]he lender has not imposed and will not impose any charges or fees against the

veteran borrower in excess of those permissible under the schedule set forth in

paragraph (d) of 38 CFR 36 .4312 ."

      74. In the absence of this representation, the Government would not have

issued the guarantee for the loan .

      75 . The certification is transmitted to the Government by mail and/or wire

in connection with every VA IRRRL made by First Horizon, including Plaintiff's

loan and the loans of the class members .

      76. The HUD- 1 forms are a significant part of the scheme to defraud in

that the form itemizes, line by - line, the charges paid by the parties to the IRRRL,

and it falsely represents and states that the United States military veteran-borrower

is not paying certain fees, such as attorney fees, that are required to be paid by the

lender when, in fact, the veteran borrower is being charged for those fees .

       77. In the absence of this false representation (if, for instance, the attorney

fee charge were identified honestly on the form), the Government would not issue




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the guarantee for the loan or the United States military veteran-borrower would not

be charged the illegal and unauthorized fee .

      78. The HUD- i is transmitted to the Government and by and between

First Horizon and the closing lawyers and firms by mail and/or wire in connection

with every VA IRRRL made by First Horizon, including Plaintiff's loan and the

loans of the class members .

D. Count IV : Federal RICO Conspiracy In Violation Of 1 8 U.S.C. §
    1962(d)

      79. Defendant also violated 1 8 U.S.C. § 1962(d) because it knowingly

joined in the conspiracy to participate in the RICO enterprise and participated in

the conduct of the enterprise by the regular, systematic, and continuous use of the

United States mail and wires to commit the predicate offenses of mail and wire

fraud. Plaintiff and the Class have been injured by reason of the conspiracy, and

the conspiracy is the direct and proximate cause of Plaintiff's injuries and the

injuries suffered by the Class .

IV. CLASS ACTION ALLEGATIONS

       80. Plaintiff, as did thousands of other United States military veteran-

borrowers across the United States, refinanced his home mortgage loan and was

charged il legal and unauthorized charges for fees, such as attorney fees, that

federal law required First Horizon to pay .


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       81 . As was the case with respect to thousands of other VA IRRRLs, First

Horizon misrepresented to the Government that no illegal and unauthorized

charges had been made and fraudulently concealed the illegal and unauthorized

charges both from the Government and the United States military veteran-

borrowers .

       82. Plaintiff, as did thousands of other United States military veteran-

borrowers, received the misrepresentation about the fees he was being charged .

And as with thousands of other United States military veteran-borrowers in

effectively identical transactions, the representations were false.

       83 . Plaintiff and the class are victims of a continuing, wide-spread scheme

to deceive thousands of United States military veteran-bor rowers into paying

certain fees, such as attorney fees, in connection with VA IRRRLs when the fees

were legally the responsibility of the lenders , such as F irst Horizon.

A. Class Definition : The Identity O f Th e Class Mem bers Can Be Readily
   D etermin ed.

       84. In accordance with Rule 23 of the Federal Rules of Civil Procedure,

Plaintiff brings this action on behalf of himself and on behalf of a class of all

others similarly situated ("Class") .

       85 . With respect to Counts I and II, Plaintiff seeks certification of the

following Rule 23(b)(3) class, defined as follows :


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      All Georgia citizens who received an IRRRL from First Horizon who

      were charged fees not authorized by 38 C .F.R. § 36 .4312 through a

      charge entered on either line 1102 and/or 1103 of the applicable

      HCTD-1 form.

The precise identity of the class members is readily ascertainable using upon

common, manageable proof including HLTD-1 Forms maintained by First Horizon

for IRRRL borrowers . Accordingly, there will be no need for a trier of fact to

consider evidence on any individual claim .

      86 . With respect to Counts III and IV, Plaintiff seeks certification of the

following Rule 23(b)(3) class, defined as follows :

      All persons who received an IRRRL from First Horizon who were

      charged fees not authorized by 38 C .F .R. § 36.4312 through a charge

      entered on either line 1102 and/or 1103 of the applicable HUD-L

      Form.

The precise identity of class members is readily ascertainable using common,

manageable proof including HUD- 1 Forms maintained by First Horizon for

IRRRL borrowers . Accordingly, there will be no need for a Crier of fact to consider

evidence on any individual claim.




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      87. With respect to the class as to First Horizon set forth above in

paragraphs 85 and 86, the Class Period extends from the date this Complaint is

filed back through and inclusive of the first time First Horizon charged a Class

Member for those fees set forth in the class definition, such as attorney fees, in

violation of applicable federal regulations . The normally-applicable statute of

limitations is to lled because of First Horizon's fraudulent concealment of the

scheme, as reflected by the fact that Defendant disguised the illegal and

unauthorized charges so as to mislead both the United States military veteran-

borrowers and also the Government, which would not have guaranteed the loans

but for the concealment.

      88. Plaintiff and the other members of the Class have reasonably relied on

the express representation that the charges reflected on the applicable HUD-1 were

as represented and lawful . As a result of such reliance, they have suffered actual

damages and have been injured for the purposes of 18 U .S .C . § 1964 as a direct

result of the enterprise . Their actual damages are believed to average between

$350 and $600 per loan, which is the difference between ordinary and reasonable

"abstract or title search" and "title examination" fees and those fees charged to the

borrowers by inclusion of illegal and unauthorized fees, plus interest Plaintiff and




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the class members were charged because the illegal fees were included in the

loans.

B . The Class Satisfies The Numerosity Requirement .

         89 . The Class is so numerous that joinder of all members is impracticable .

The exact number and identities of class members are unknown at this time and

can be ascertained through appropriate discovery . Plaintiff s counsel believe the

number of class members to be in the thousands .

C. Questions Of Law And Fact Common To The Class Exist .

         90. Questions of law and fact of common and general interest to the class

exist as to all class members and predominate over any questions affecting only

individual members of the class . Said common questions include, but are not

limited to, the following :

         (a) Whether charges for settlement closing attorney fees should be

               disclosed on line 1101 or 1107 of the HUD- 1 form ;

         (b) Whether it is permissible, in connection with a VA IRRRL, to group

               charges for settlement closing attorney fees with "title exam" fees and

               disclose them on line 1103 of the HUD-1 form ;

         (c) What is an appropriate and reasonable charge, in connection with a

               VA IRRRL, for "title exam" fees ;




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(d) Whether it is lawful to disclose on the HUD- 1 form fees that are not

      authorized to be charged to the borrower in connection with a VA

      IRRRL in such a way as to facilitate charging the borrower for those

      fees;

(e) Whether Defendant engaged in mail and/or wire fraud by transmitting

      settlement documents with mis-identified charges through the U .S .

      mail and wires, for the purpose of obtaining money from veteran-

      borrowers ;

(f)   Whether Defendant violated the law by certifying that no charges had

      been made in violation of VA regulations ;

(g) Whether Defendant engaged in mail and /or wire fraud by transmitting

      false certifications through the U .S. mail and wires, for the purpose of

      obtaining money from veteran-borrowers ;

(h) Whether Defendant violated O.C .G.A. § 16-8-102(1), (2), (3), and (4),

      relating to residential mortgage fraud ;

(i) Whether the VA would have guaranteed class member IRRRL loans

      had all charges been disclosed on the correct line(s) of the HUD- 1

      forms ; and

(j} Whether Defendant conspired to commit the acts set forth herein .




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D. Plaintiff's C laims Are Typical.

      91 . The claims of or defenses against Plaintiff, as a representative party,

are typical of the claims of or defenses against the Class, in that all such claims

arise out of the actions of First Horizon charging unauthorized fees to borrowers in

connection with IRRRLs . Plaintiff and other class members have suffered a

common injury arising out of Defendant's common course of conduct as alleged

herein. The provisions of the HUD-1 forms are the same or substantially the same

for each class member, as such provisions are in accordance with the applicable

federal law addressing IRRRLs .

E. Plaintiff And His Counsel Will Adequately Represent The Class .

      92 . Plaintiff, as the representative party for the Class, will fairly and

adequately protect the interests of the members of the Class and has no interest .,

antagonistic to or in conflict with those of class members .

      93 . Plaintiff has retained class counsel competent to prosecute class

actions, including consumer class actions, and she intends to prosecute this action

vigorously for the benefit of the class .

F . Common Questions Of Law Or Fact Predominate Over Individual
      Issues .

      94 . The questions of law or fact common to the members of the Class

predominate over any questions affecting only individual members . The



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overarching issue of whether the class members were improperly charged for

certain fees, such as attorney fees, is the same for every potential class member .

The precise identities of the class members and the amount of money improperly

charged to any particular class member is determinable using objective criteria and

common, manageable proof including the HUD- 1 Forms maintained by First

Horizon for IRRRL borrowers .

G. A Class Action Is Superior To Other Methods Of Resolution .

       95 . A class action is superior to other available methods for the fair and

efficient adjudication of the controversy; since joinder of all members of the class

is impractical .

       96. As any injury suffered by each class member is relatively small, the

expense and burden of individual litigation would make it difficult or impossible

for individual members of the class to obtain relief. In addition, many, if not the

overwhelming majority, of the members of the proposed class are unaware that

they have been improperly charged fees in connection with IRRRLs . The interest

of members of the Class in individually controlling the prosecution or defense of

separate actions is not great given the small amount in controversy in individual

cases and the difficulty of detection of the enterprise and proof of it .




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       97 . It is desirable to concentrate this litigation in one forum as opposed to

having individual actions . The interests of judicial economy favor adjudicating the

claims as a class .

       98 . There are no known difficulties likely to be encountered in the

management of a class action .

V.     DAMAGES CLA IMED

A. Compensatory And RICO Damages Sought

       99 . Plaintiff seeks, on behalf of himself and the class, to recover all

damages caused by the fraudulent scheme, including interest .

       100. Plaintiff claims, on behalf of himself and the class, special damages,

including the amount of fees charged to him and them that federal law required be

borne by the lender, First Horizon.

       101 . Plaintiff claims, on behalf of himself and the class, special damages,

including interest he and they have paid on the loan principal attributable to the fee

that should have been borne by the lender .

       102 . The action also seeks applicab l e RICO penalties, including treble

damages, punitive damages, attorney fees, and reasonable costs of investigation

and litigation, pursuant to O .C.G.A. § 16-14-6(c), as to Counts I and II .




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B. Uncapped Punitive Damages (Counts I and II )

      1 03 . Plaintiff seeks, on behalf of himself and the class, uncapped punitive

damages, pursuant to O .C.G.A. § 51-12-5 . 1 (f), because Defendants acted with

specific intent to cause harm . Plaintiff seeks punitive damages in an amount to be

determined by the enlightened conscience of a fair and impartial jury .

      WHEREFORE, Plaintiff prays for the following relief :

      (a) That summons issue and service be perfected upon Defendant

             requiring it to appear before this Court and answer this Complaint ;

      (b)    That a class be certified as sought in this Complaint ;

      (c) That Plaintiff and the class have a trial by jury ;

      (d) That Plaintiff and the class recover all elements of compensatory

             damages and all such damages recoverable under Georgia law against

             Defendant as specified in this complaint ;

      (e) That Plaintiff and the class recover uncapped punitive damages

             against Defendant to punish it for its misconduct and to deter it from

             future misconduct ; and

      (f)    That Plaintiff and the class have such other and further relief as this

             Court deems just and proper .




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      This l. Ot'' day of March , 2009.

                                          Respectfully submitted,

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